Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 1 of 37




               EXHIBIT A
     Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 2 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                               CIVIL DIVISION

          Plaintiff,                         ELECTRONICALLY FILED

          v.                                 GD-21-________________

LVNV FUNDING, LLC,

          Defendant.                         PRAECIPE FOR WRIT
                                             OF SUMMONS



                                             Filed on Behalf of Plaintiff:
                                             Keith McBroom




                                             Counsel of Record for this Party:
                                             THE LAW FIRM OF FENTERS WARD


                                             Joshua P. Ward
                                             Pa. I.D. No. 320347




                                             The Law Firm of Fenters Ward
                                             The Rubicon Building
                                             201 South Highland Avenue
                                             Suite 201
                                             Pittsburgh, PA 15206


                                             Telephone:     (412) 545-3015
                                             Fax No.:       (412) 540-3399
                                             E-mail:        jward@fentersward.com
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 3 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                                           CIVIL DIVISION

              Plaintiff,                                 ELECTRONICALLY FILED

              v.                                         GD-21-________________

LVNV FUNDING, LLC,

              Defendant.

                           PRAECIPE FOR WRIT OF SUMMONS

TO     PROTHONOTARY OF THE COURT OF COMMON PLEAS OF ALLEGHENY
       COUNTY, PENNSYLVANIA:

       Kindly issue a writ of summons in the above-captioned matter.



                                                  Respectfully submitted,

                                                  THE LAW FIRM OF FENTERS WARD



Date: February 23, 2021                          By: ____________________________
                                                     Joshua P. Ward (Pa. I.D. No. 320347)
                                                     Kyle H. Steenland (Pa. I.D. No. 327786)

                                                      The Law Firm of Fenters Ward
                                                      The Rubicon Building
                                                      201 South Highland Avenue
                                                      Suite 201
                                                      Pittsburgh, PA 15206

                                                      Counsel for Plaintiff
     Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 4 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                               CIVIL DIVISION

          Plaintiff,                         ELECTRONICALLY FILED

          vs.                                Case No.: GD-21-001476

LVNV FUNDING, LLC,

          Defendant.                         AFFIDAVIT OF SERVICE OF
                                             PRAECIPE OF WRIT OF SUMMONS




                                             Filed on Behalf of Plaintiff:
                                             Keith McBroom

                                             Counsel of Record for This Party:

                                             J.P. WARD & ASSOCIATES, LLC


                                             Joshua P. Ward
                                             Pa. I.D. No. 320347

                                             The Rubicon Building
                                             201 South Highland Avenue
                                             Suite 201
                                             Pittsburgh, PA 15206


                                             Telephone:     (412) 545-3015
                                             Fax:           (412) 540-3399
                                             E-mail:        JWard@JPWard.com
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 5 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                                            CIVIL DIVISION

              Plaintiff,                                  ELECTRONICALLY FILED

              vs.                                         Case No.: GD-21-001476

LVNV FUNDING, LLC,

              Defendant.




          AFFIDAVIT OF SERVICE OF PRAECIPE OF WRIT OF SUMMONS

COMMONWEALTH OF PENNSYLVANIA                       :
                                                   :      §§
COUNTY OF ALLEGHENY                                :

                                        AFFIDAVIT

       I, Joshua P. Ward, Esquire, of J.P. Ward & Associates, LLC, hereby swear and affirm that
on April 1, 2021, I served a true and correct copy of the Praecipe for Writ of Summons in Civil
Action, by way of U.S. Certified Mail, Electronic Return Receipt Requested upon the following
persons listed below: (See attached Exhibit A, “the Certified Mail Receipts”).


                                   LVNV Funding, LLC
                                 6801 South Cimarron Road
                                         Suite 401
                               Las Vegas, Nevada 89113-2273
        Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 6 of 37




                                          Respectfully submitted,

                                          J.P. WARD & ASSOCIATES, LLC



Date: April 5, 2021                      By: ______________________________
                                             Joshua P. Ward (Pa. I.D. No. 320347)
                                             Kyle H. Steenland (Pa. I.D. No. 327786)

                                             The Rubicon Building
                                             201 South Highland Avenue
                                             Suite 201
                                             Pittsburgh, PA 15206

                                             Counsel for Plaintiff
        Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 7 of 37




                                CERTIFICATE OF SERVICE
       I hereby certify that on this 5th day of April 2021, a true and correct copy of the foregoing

Proof of Service was served via first class mail upon the following:

                                     LVNV Funding, LLC
                                   6801 South Cimarron Road
                                           Suite 401
                                 Las Vegas, Nevada 89113-2273

                                                     Respectfully Submitted,

                                                     J.P. WARD & ASSOCIATES, LLC




Date: April 5, 2021                                  By: ______________________________
                                                         Joshua P. Ward (Pa. I.D. No. 320347)
                                                         Kyle H. Steenland (Pa. I.D. No. 327786)



                                                          J.P. Ward & Associates, LLC
                                                          The Rubicon Building
                                                          201 South Highland Avenue
                                                          Suite 201
                                                          Pittsburgh, PA 15206
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 8 of 37




                      EXHIBIT A
                  Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 9 of 37




    Mailer: JP Ward & Associates

    Date Produced: 04/05/2021

    ConnectSuite Inc.:

    The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8336
    0156 40. Our records indicate that this item was delivered on 04/01/2021 at 11:12 a.m. in LAS VEGAS,
    NV 89113. The scanned image of the recipient information is provided below.

    Signature of Recipient :




    Address of Recipient :




    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or Postal Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.

    This USPS proof of delivery is linked to the customers mail piece information on file
    as shown below:
     LVNV FUNDING LLC
     STE 401
     6801 S CIMARRON RD
     LAS VEGAS NV 89113-2273




    Customer Reference Number:               C2602003.14993688
    Return Reference Number                  3234.1

2
                    Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 10 of 37


Return address:                                                                   Recipient address:
JP WARD & ASSOCIATES                                                              LVNV FUNDING LLC
201 S HIGHLAND AVE STE 201                                                        STE 401
PITTSBURGH PA 15206                                                               6801 S CIMARRON RD
                                                                                  LAS VEGAS NV 89113-2273


MAILING DATE: 03/29/2021
DELIVERY DATE: 04/01/2021

                                            USPS CERTIFIED MAIL




                                            420891139214890194038336015640
                                          9214 8901 9403 8336 0156 40


USPS Tracking Label Number: 9214 8901 9403 8336 0156 40
USPS Tracking History                              Location                                                 Date / Time

PRE-SHIPMENT INFO SENT USPS AWAITS ITEM                            PITTSBURGH,PA 15206                      03/29/2021 11:16
ORIGIN ACCEPTANCE                                                  PITTSBURGH,PA 15206                      03/29/2021 22:39
PROCESSED THROUGH USPS FACILITY                                    PITTSBURGH,PA 15290                      03/29/2021 23:54
PROCESSED THROUGH USPS FACILITY                                    LAS VEGAS,NV 89199                       03/31/2021 14:24
PROCESSED THROUGH USPS FACILITY                                    LAS VEGAS,NV 89199                       04/01/2021 00:02
DELIVERED FRONT DESK/RECEPTION/MAIL ROOM                           LAS VEGAS,NV 89113                       04/01/2021 11:12




 PHONE::
    Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 11 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA


KEITH MCBROOM,                         CIVIL DIVISION

             Plaintiff,                ELECTRONICALLY FILED

      v.                               Case No.: GD-21-001476

LVNV FUNDING, LLC,                     PRAECIPE FOR RULE TO FILE
                                       COMPLAINT
             Defendant.
                                       FILED ON BEHALF OF DEFENDANT
                                       LVNV FUNDING, LLC

                                       Counsel of Record for this Party:

                                       Lauren M. Burnette, Esquire
                                       PA Bar No. 92412

                                       Messer Strickler, Ltd.
                                       12276 San Jose Blvd.
                                       Suite 718
                                       Jacksonville, FL 32223

                                       Tel: (904) 527-1172
                                       Fax: (904) 683-7353

                                       lburnette@messerstrickler.com




                                   1
        Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 12 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                                 :
                                               :
               Plaintiff,                      :
                                               :   CIVIL DIVISION
        v.                                     :
                                               :   ELECTRONICALLY FILED
LVNV FUNDING, LLC,                             :
                                               :   Case No. GD-21-001476
               Defendant.                      :
                                               :

                            PRAECIPE TO FILE COMPLAINT

TO THE PROTHONOTARY:

        Please enter a Rule upon Plaintiff to file a Complaint within twenty (20) days hereof or

suffer the entry of a Judgment of Non Pros.



                                     _/s/ Lauren M. Burnette
                                     Lauren M. Burnette, Esquire
                                     Counsel for Defendant



                               RULE TO FILE COMPLAINT

        AND NOW, this _____ day of May 2021, a Rule is hereby granted upon Plaintiff to file a

Complaint herein within twenty (20) days after service hereof or suffer the entry of Judgment Non

Pros.



                                     __________________________
                                     Prothonotary




                                               2
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 13 of 37




                                CERTIFICATE OF SERVICE
       I certify that on July 27, 2021, a true copy of the foregoing document was served as follows:

 By Email and U.S. Mail, Postage Prepaid
 Joshua P. Ward
 Kyle H. Steenland
 Jordan Kurth
 The Law Firm of Fenters Ward
 The Rubicon Building
 201 South Highland Ave.
 Suite 201
 Pittsburgh, PA 15206
 jward@fentersward.com
 ksteenland@fentersward.com
 jkurth@fentersward.com
 Counsel for Plaintiff
                                   MESSER STRICKLER, LTD.


                              By:     /s/ Lauren M. Burnette
                                      LAUREN M. BURNETTE
                                      PA Bar No. 92412
                                      12276 San Jose Blvd.
                                      Suite 720
                                      Jacksonville, FL 32223
                                      (904) 527-1172
                                      (904) 683-7353 (fax)
                                      lburnette@messerstrickler.com
                                      Counsel for Defendant

Date: July 27, 2021




                                                3
     Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 14 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                               CIVIL DIVISION

          Plaintiff,                         ELECTRONICALLY FILED

          vs.                                Case No. GD-21-001476

LVNV FUNDING, LLC,

          Defendant.                         COMPLAINT IN CIVIL ACTION

                                             Filed on Behalf of Plaintiff:
                                             Keith McBroom


                                             Counsel of Record for this Party:
                                             J.P. WARD & ASSOCIATES, LLC


                                             Joshua P. Ward
                                             Pa. I.D. No. 320347




                                             J.P. Ward & Associates, LLC
                                             The Rubicon Building
                                             201 South Highland Avenue
                                             Suite 201
                                             Pittsburgh, PA 15206


                                             Telephone:     (412) 545-3015
                                             Fax No.:       (412) 540-3399
                                             E-mail:        jward@jpward.com
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 15 of 37




                                     NOTICE TO DEFEND

YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and Notice are
served, by entering a written appearance personally or by attorney and filing in writing with the
court your defenses or objections to the claims set forth against you. You are warned that if you
fail to do so the case may proceed without you and a judgment may be entered against you by the
court without further notice for any money claimed in the Complaint or for any other claim or
relief requested by the plaintiff. You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. If you do not have a
lawyer, go to or telephone the office set forth below. This office can provide you with information
about hiring a lawyer. IF YOU CANNOT AFFORD TO HIRE A LAWYER, this office may be
able to provide you with information about agencies that may offer legal service to eligible persons
at a reduced fee or no fee:

                               LAWYER REFERRAL SERVICE
                             11TH FLOOR KOPPERS BUILDING,
                                  436 SEVENTH AVENUE
                            PITTSBURGH, PENNSYLVANIA 15219
                                TELEPHONE: (412) 261-5555


HEARING NOTICE YOU HAVE BEEN SUED IN COURT. The above Notice to Defend
explains what you must do to dispute the claims made against you. If you file the written response
referred to in the Notice to Defend, a hearing before a board of arbitrators will take place in the
Compulsory Arbitration Center. Report to the Arbitration Assembly Room, Courtroom Two,
Seventh Floor City-County Building, 414 Grant Street, Pittsburgh, Pennsylvania 15219, on
_______________________________________, 2020, at 9:00 A.M.

IF YOU FAIL TO FILE THE RESPONSE DESCRIBED IN THE NOTICE TO DEFEND, A
JUDGMENT FOR THE AMOUNT CLAIMED IN THE COMPLAINT MAY BE ENTERED
AGAINST YOU BEFORE THE HEARING. DUTY TO APPEAR AT ARBITRATION
HEARING IF ONE OR MORE OF THE PARTIES IS NOT PRESENT AT THE HEARING, THE
MATTER MAY BE HEARD AT THE SAME TIME AND DATE BEFORE A JUDGE OF THE
COURT WITHOUT THE ABSENT PARTY OR PARTIES. THERE IS NO RIGHT TO A TRIAL
DE NOVO ON APPEAL FROM A DECISION ENTERED BY A JUDGE.

NOTICE: You must respond to this complaint within twenty (20) days or a judgment for the
amount claimed may be entered against you before the hearing. If one or more of the parties is not
present at the hearing, the matter may be heard immediately before a judge without the absent
party or parties. There is no right to a trial de novo on appeal from a decision entered by a judge.




                                                 1
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 16 of 37




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

KEITH MCBROOM,                                              CIVIL DIVISION

              Plaintiff,                                    ELECTRONICALLY FILED

              vs.                                           Case No. GD-21-001476

LVNV FUNDING, LLC,

              Defendant.
                                         COMPLAINT

       AND NOW, comes Plaintiff, Keith McBroom, by and through the undersigned counsel,

J.P. Ward & Associates, LLC and, specifically, Joshua P. Ward, Esquire, who files the within

Complaint in Civil Action against Defendant, LVNV Funding, LLC, of which the following is a

statement:

                                           PARTIES

       1.     Plaintiff, Keith McBroom (hereinafter “Keith McBroom”), is an adult individual

who currently resides at 410 Church St., Turtle Creek, Pennsylvania 15145.

       2.     Defendant, LVNV Funding, LLC, (hereinafter “LVNV Funding”), is a corporation

with its principal place of business located at 6801 South Cimarron Road, Suite 424J, Las Vegas,

Nevada 89113-2273.

                               JURISDICTION AND VENUE

       3.     Jurisdiction is proper as Plaintiff brings this lawsuit under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter, the “FDCPA”).

       4.     Venue is proper pursuant to Pa.R.C.P. 2179(a)(2) because Defendant regularly

conducts business in Allegheny County, Pennsylvania, and because Defendant is subject to general

jurisdiction of Allegheny County, Pennsylvania.

                                                2
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 17 of 37




               PROCEDURAL HISTORY AND FACTUAL ALLEGATIONS

       5.      On May 29, 2020, LVNV Funding, filed a Civil Complaint against Keith McBroom

in Magisterial District Court at Docket Number: MJ-05247-CV-0000095-2020. A true and correct

copy of the Docket is attached hereto, made a part hereof, and marked as Exhibit “A”.

       6.      In response to the aforesaid lawsuit, Keith McBroom engaged The Law Firm of

Fenters Ward for representation.

       7.      On July 6, 2020, The Law Firm of Fenters Ward served LVNV Funding with a

letter, (hereinafter, the “First Dispute Letter”) wherein LVNV Funding was informed of the

disputed nature regarding the alleged debt and that Keith McBroom was represented by counsel.

A true and correct copy of the First Dispute Letter is attached hereto, made a part hereof, and

marked as Exhibit “B”.

       8.      This First Dispute Letter specifically stated that Keith McBroom “denie[d] owing

LVNV Funding LLC any amount of money” and informed LVNV Funding LLC that Keith

McBroom disputed any and all “Debts” LVNV Funding claimed to possess. See Exhibit “B”.

       9.      “Debts” as defined within the First Dispute Letter delineated and included “any

related debt(s) and/or credit account(s) your company [LVNV Funding] claims to have, sold,

purchased and/or assigned from yourself, another creditor, debt buyer or other entity as of the date

of this letter. See Exhibit “B”.

       10.     Within the First Dispute Letter, The Law Firm of Fenters Ward demanded “proof

of liability, accounting and ownership of these alleged accounts. The proof shall include any

agreements and amendments thereto, any other written or signed documents agreed to by my

client, as well as a complete history of billing statements reflecting how you calculated the current



                                                 3
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 18 of 37




amount claimed, owed, reported to the collection and/or credit agencies and complete copies of

any assignment documentation evidencing your ownership rights to the specific accounts.” See

Exhibit “B”.

       11.     Following the First Dispute Letter, LVNV Funding possessed a duty to reflect the

disputed nature of any and all tradelines associated with Keith McBroom and to communicate said

disputed nature to any and all credit reporting agencies.

       12.     Furthermore, LVNV Funding was directed to cease and desist from contacting

Keith McBroom directly. See Exhibit “B”.

       13.     On July 7, 2020, The Law Firm of Fenters Ward filed an Entry of Appearance and

an Intent to Defend on Keith McBroom’s behalf. True and correct copies of the Entry of

Appearance and Notice of Intent to Defend are attached hereto, made a part hereof, and marked as

Exhibit “C”.

       14.     On August 17, 2020, a Civil Action Hearing was held before the Honorable Scott

Schricker, Magisterial District Judge. See Exhibit “A”.

       15.     On August 17, 2020, at the conclusion of the Civil Action hearing, Judge Scott

Schricker granted a JUDGMENT FOR DEFENDANT in favor of Keith McBroom and against

LVNV Funding. A true and correct copy of the Notice of Judgment is attached hereto, made a part

hereof, and marked as Exhibit “D”.

       16.     On September 16, 2020, LVNV Funding’s appeal period expired, making Judge

Scott Schricker’s JUDGMENT FOR DEFENDANT a final judgment: rendering the alleged debt

extinguished, invalid, and unenforceable.

       17.     On January 6, 2021, LVNV Funding furnished credit information about Keith

McBroom to TransUnion as LVNV Funding “updated” the tradeline associated with the alleged



                                                 4
        Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 19 of 37




and extinguished debt. A true and correct copy of the tradeline is attached hereto, made a part

hereof, and marked as Exhibit “E”.

        18.     LVNV Funding failed to remove the tradeline pertaining to the alleged and

extinguished debt and instead reported the abovementioned tradeline as “Remarks: ACCT INFO

DISPUTED BY CONSUMR; >PLACED FOR COLLECTION<” and “Pay Status: >In

Collection<.” See Exhibit “E”.

        19.     This controverted the alleged, extinguished, and unenforceable nature of the alleged

debt and purported the alleged debt to be enforceable.

        20.     Therefore, LVNV Funding communicated credit information that is known or

should be known to be false in violation of 15 U.S.C. § 1692e(8) of the FDCPA.

        21.     Furthermore, LVNV Funding falsely represented the character and legal status of

the alleged and extinguished debt upon purporting the tradeline to be enforceable in violation of

15 U.S.C. § 1692e(2)(a) of the FDCPA.

                                    COUNT I
                   VIOLATIONS OF THE FDCPA, 15 U.S.C. § 1692, et seq.
        22.     Plaintiff incorporates the allegations contained in the paragraphs, above, as if fully

set forth at length herein.

        23.     There is abundant evidence of the use of abusive, deceptive, and unfair debt

collection practices by many debt collectors. Abusive debt collection practices contribute to the

number of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

individual privacy. 15 U.S.C. 1692(a).

        24.     The purpose of the FDCPA is to “eliminate abusive debt collection practices by

debt collectors, to ensure that those debt collectors who refrain from using abusive debt collection




                                                  5
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 20 of 37




practices are not competitively disadvantaged, and to promote consistent State action to protect

consumers against debt collection abuses.” 15 U.S.C. § 1692(e).

       25.     Keith McBroom is a “consumer” as defined by § 1692a(3) of the FDCPA.

       26.     LVNV Funding is a “debt collector” as defined by § 1692a(6) of the FDCPA.

       27.     Upon information and belief, the alleged “debt” arises out of an alleged transaction

entered into primarily for personal, family, or household purposes. “The term ‘debt’ means any

obligation or alleged obligation of a consumer to pay money arising out of a transaction in which

the money, property, insurance, or services which are the subject of the transaction are primarily

for personal, family, or household purposes, whether or not such obligation has been reduced to

judgment.” 15 U.S.C. § 1692a(5).

       28.     The Third Circuit has held that the FDCPA is to be enforced by private attorney

generals. Weiss v. Regal Collections, 385 F.3d 337, 345 (3d. Cir. 2004).

       29.      Section 1692e of the FDCPA provides:

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any
               debt. Without limiting the general application of the foregoing, the
               following conduct is a violation of this section: (2) The false
               representation of – (A) the character, amount, or legal status of any
               debt; (8) Communicating or threatening to communicate to any
               person credit information which is known or which should be known
               to be false, including the failure to communicate that a disputed debt
               is disputed.

15 U.S.C. § 1692e of the FDCPA.

       30.     On September 16, 2020, LVNV Funding’s appeal period expired, making the

Judgment of Judge Scott Schricker a final judgment which then rendered the alleged debt

extinguished, invalid, and unenforceable.




                                                 6
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 21 of 37




       31.     On January 6, 2021, LVNV Funding furnished information regarding the alleged,

extinguished, invalid, and unenforceable debt to TransUnion.

       32.     LVNV Funding reported that the tradeline associated with the abovementioned

alleged and extinguished debt was “Remarks: ACCT INFO DISPUTED BY CONSUMR;

>PLACED FOR COLLECTION<” and “Pay Status: >In Collection<.” See Exhibit “E”.

       33.     This communication of credit information associated with the alleged and

extinguished debt controverted its extinguished, invalid, unenforceable nature and thereby

constituted a false representation of the character and legal status of the alleged debt in violation

of 15 U.S.C. § 1692e(2)(a) of the FDCPA.

       34.     By controverting the alleged, extinguished, invalid, and unenforceable nature of the

alleged debt, LVNV Funding thereby communicated credit information which is known or which

should be known to be false and thus violated 15 U.S.C. § 1692e(8) of the FDCPA.

       35.     Furthermore, LVNV Funding failed to remove the tradeline pertaining to the

alleged and extinguished debt. See Exhibit “E”.

       36.     The continued reporting of the alleged, extinguished, invalid, and unenforceable

debt purported said alleged debt to be enforceable.

       37.     Therefore, LVNV Funding once again falsely represented the character and legal

status of an alleged debt in violation of 15 U.S.C. § 1692e(2)(a) of the FDCPA and communicated

credit information which is known or which should be known to be false in violation of 15 U.S.C.

§ 1692e(8) of the FDCPA.

       38.     Section 1692d of the FDCPA provides, in relevant part: “A debt collector may not

engage in any conduct the natural consequence of which is to harass, oppress, or abuse any person

in connection with the collection of a debt.”



                                                  7
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 22 of 37




       39.     Here, the only natural consequence of LVNV Funding’s acts of willfully

communicating credit information which was known to be false was to harass, oppress, and abuse

Keith McBroom.

       40.     As such, LVNV Funding’s conduct, as set forth above, violated 15 U.S.C. § 1692d

of the FDCPA.

       41.     Section 1692k(a) of the FDCPA provides, in relevant part:

               …any debt collector who fails to comply with any provision of this
               subchapter with respect to any person is liable to such person in an
               amount equal to the sum of – (1) any actual damages sustained by
               such person as the result of such failure; (2)(A) in the case of any
               action by an individual, such additional damages as the court may
               allow, but not exceeding $1,000; and (3) in the case of any
               successful action to enforce the foregoing liability, the costs of the
               action, together with a reasonable attorney's fee as determined by
               the court.”

15 U.S.C. § 1692k(a) of the FDCPA.

       42.     As a direct and proximate result of LVNV Funding’s violations of the FDCPA, as

set forth above, Keith McBroom has suffered annoyance, anxiety, embarrassment, emotional

distress, and severe inconvenience.

       WHEREFORE, Plaintiff, Keith McBroom, respectfully requests that this Honorable Court

enter judgment in their favor and against Defendant, LVNV Funding, LLC, and enter an award of

monetary damages as described herein, not in excess of arbitration limits, including an award for

actual damages, statutory damages pursuant to 15 U.S.C. §1692k(a), costs and attorney’s fees

pursuant to 15 U.S.C. § 1692k(a), and such other and further relief as this Honorable Court deems

just and proper.

JURY TRIAL DEMANDED UPON APPEAL OR REMOVAL.




                                                 8
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 23 of 37




                                          Respectfully submitted,

                                          J.P. WARD & ASSOCIATES, LLC



Date: July 30, 2021                       By: ____________________________
                                              Joshua P. Ward (Pa. I.D. No. 320347)
                                              Kyle H. Steenland (Pa. I.D. No. 327786)

                                              J.P. Ward & Associates, LLC
                                              The Rubicon Building
                                              201 South Highland Avenue
                                              Suite 201
                                              Pittsburgh, PA 15206

                                              Counsel for Plaintiff




                                      9
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 24 of 37




            EXHIBIT A
                          Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 25 of 37

                                                     Magisterial District Judge 05-2-47
                                                                                  DOCKET
                                                                                                             Docket Number: MJ-05247-CV-0000095-2020
                                                                                                                                                         Civil Docket
                                                                              LVNV Funding LLC
                                                                                      v.
                                                                               Keith McBroom
                                                                                                                                                                      Page 1 of 2

                                                                           CASE INFORMATION
Judge Assigned:                  Magisterial District Judge Scott H.                      File Date:                     05/29/2020
                                 Schricker
Claim Amount:                    $940.05                                                  Case Status:                   Closed
Judgment Amount:                                                                          County:                        Allegheny

                                                                           CALENDAR EVENTS
Case Calendar                         Schedule                                                                                                          Schedule
Event Type                            Start Date        Start Time       Room                               Judge Name                                  Status
Civil Action Hearing                  07/13/2020         8:30 am         Courtroom: MDJ-05-2-47             Magisterial District Judge Scott            Continued
                                                                                                            H. Schricker

Civil Action Hearing                  08/17/2020        10:30 am         Courtroom: MDJ-05-2-47             Magisterial District Judge Gary             Scheduled
                                                                                                            Michael Zyra

                                                                           CASE PARTICIPANTS
Participant Type                Participant Name                                        Address
Defendant                       McBroom, Keith                                          Turtle Creek, PA 15145
Plaintiff                       LVNV Funding LLC                                        Canonsburg, PA 15317
                                                                         DISPOSITION SUMMARY
Docket Number                           Plaintiff                                 Defendant                               Disposition                        Disposition Date
MJ-05247-CV-0000095-2020                LVNV Funding LLC                          Keith McBroom                           Judgment for Defendant                  08/17/2020

                                                                       ATTORNEY INFORMATION
Private
Name: Joshua Paul Ward, Esq.
Representing: McBroom, Keith
Counsel Status: Active - Entry of Appearance
Supreme Court No.: 320347
Phone No.: 412-545-3016
Address:         The Law Firm Of Fenters Ward
                 201 South Highland Avenue
                 Suite 201
                 Pittsburgh, PA 15206
Entry of Appearance Filed Dt: 07/07/2020
Withdrawal of Entry of Appearance Filed Dt:




MDJS 1200                                                                                                                                            Printed: 01/08/2021 11:32 am

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of
            the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or
            omissions on these docket sheets. You should verify that the information is accurate and current by personally consulting the official record reposing in
                                                                     the court wherein the record is maintained.
                       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 26 of 37

                                                  Magisterial District Judge 05-2-47
                                                                               DOCKET
                                                                                                          Docket Number: MJ-05247-CV-0000095-2020
                                                                                                                                                      Civil Docket
                                                                           LVNV Funding LLC
                                                                                   v.
                                                                            Keith McBroom
                                                                                                                                                                   Page 2 of 2

                                                                 DOCKET ENTRY INFORMATION
Filed Date     Entry                                                    Filer                                            Applies To
08/17/2020     Judgment for Defendant                                   Magisterial District Court 05-2-47               Keith McBroom, Defendant
07/07/2020     Intent to Defend Filed                                   Keith McBroom                                    Keith McBroom, Defendant
07/07/2020     Certified Civil Complaint Accepted                       Magisterial District Court 05-2-47               Keith McBroom, Defendant
07/07/2020     Entry of Appearance Filed                                Joshua Paul Ward, Esq.                           Keith McBroom, Defendant
05/29/2020     Certified Civil Complaint Issued                         Magisterial District Court 05-2-47               Keith McBroom, Defendant
05/29/2020     Civil Complaint Filed                                    LVNV Funding LLC




MDJS 1200                                                                       Page 2 of 2                                                       Printed: 01/08/2021 11:32 am

        Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of
         the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or
         omissions on these docket sheets. You should verify that the information is accurate and current by personally consulting the official record reposing in
                                                                  the court wherein the record is maintained.
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 27 of 37




            EXHIBIT B
               Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 28 of 37
                                                                                                 Joshua Ward, Esq.

         a i m    t o     w i n                                                                  Managing Partner


        201 South Highland Ave., Suite 201                                                    412-545-3016 Office
        Pittsburgh, PA 15206                                                                  412-540-3399   Fax



                                                                    July 6, 2020

 LVNV Funding LLC
 c/o Gregg Lawrence Morris, Esq.
 Patenaude & Felix APC
 501 Corporate Dr.
 Southpointe Center, Suite 205
 Canonsburg, PA 15317

 Sent via U.S. Mail

       Re:     Our Client:            Keith McBroom
               Docket Number:         MJ-05247-0000095-2020
               Account #’s:           XXX

To Whom It May Concern:

       Please accept this letter as confirmation of my representation of Keith McBroom with a current
address of 410 Church St Turtle Creek, PA 15145. My representation of the above-mentioned client
includes any related debt(s) and/or credit account(s) your company claims to have, sold, purchased and/or
assigned from yourself, another creditor, debt buyer or other entity as of the date of this letter (the
“Debts”). Please cease and desist any further communications with my client as it relates to the collection
of Debts.

        According to my client, your company has been reporting the above-referenced accounts to
collection and/or credit agencies. My client denies owing LVNV Funding LLC any amount of money
and demands proof of liability, accounting and ownership of these alleged accounts. The proof shall
include any agreements and any amendments thereto, any other written or signed documents agreed to by
my client, as well as, a complete history of billing statements reflecting how you calculated the current
amount claimed, owed, reported to the collection and/or credit agencies and complete copies of any
assignment documentation evidencing your ownership rights to the specific accounts.

       Pursuant to the Consumer Financial Protection Act (CFPA) 12 U.S.C. 5533(a) and the Fair Debt
Collection Practices Act (FDCPA) 15 U.S.C. § 1692 et seq. we request that you provide additional
documents related to the Debt you claim is owed by our client:

             1. the original account-level documentation reflecting all purchases, payments, or other
                actual uses of the account;

             2. a document signed by our client evidencing the opening of the account forming the basis
                for the debt;

             3. the name of the creditor at the time of charge-off, including the name under which the
                creditor did business with our client;
              Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 29 of 37




            4. the last four digits of the account number associated with the debt at the time our client’s
               last monthly account statement, or, if not available, at the time of charge-off; the charge-
               off balance;

            5. LVNV Funding method of calculating any amount claimed in excess of the charge-off
               balance;

            6. a copy of the statement where LVNV Funding offered to provide our client (within 30
               days of a written request) with copies of a document signed by our client evidencing the
               opening of the account forming the basis for the debt; and the original account-level
               documentation reflecting a purchase, payment, or other actual use of the account.

       Please be advised that at all times relative hereto, we are disputing this debt under the FDCPA,
FCRA, FCEUA and/or the UTPCPL. AS SUCH YOU MUST 1) NOTIFY ANY CRAs YOU HAVE
FURNISHED INFORMATION TO THAT THIS TRADE LINE IS DISPUTED; 2) YOU MUST
CEASE ALL COLLECTION ATTEMPTS AND DELETE THE TRADE LINE UPON FINAL
DISMISSAL OF THE DEBT COLLECTION LAWSUIT IF JUDGMENT IS RENDERED IN
FAVOR OF DEFENDANT. You may direct the requested proof to my office at the address listed above.
YOU HAVE THIRTY (30) DAYS TO PROVIDE THE REQUESTED PROOFS. All future
correspondence or contact shall be directed to my office until my office provides written confirmation of
termination of legal representation, if such termination should ever occur. YOU MUST PROVIDE THIS
NOTICE TO ANY ASSIGNEE, TRANSFEREE OR SUBSEQUENT OWNER OF THIS OR ANY
DEBT. IF YOU FAIL IN ANY OF THESE REGARDS, YOU WILL BE SUBJECT TO
LIABILITY UNDER FEDERAL AND STATE CONSUMER PROTECTION LAWS.

                                                                    Very Truly Yours,


                                                                    /s/ Joshua P. Ward, Esq.

                                                                    Joshua P. Ward, Esq.
                                                                    Direct Dial: (412) 545-3015
                                                                    Email: jward@fentersward.com




JPW/tmn
cc: Keith McBroom
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 30 of 37
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 31 of 37




            EXHIBIT C
        Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 32 of 37
                                                                           Joshua Ward, Esq.

 a i m     t o     w i n                                                   Managing Partner

 201 South Highland Ave., Suite 201                                      412-545-3016 Office
 Pittsburgh, PA 15206                                                    412-540-3399   Fax



                                                    July 6, 2020
 Magisterial District Number: 05-3-47
 Honorable Scott H. Schricker
 100 Penn Plaza Shopping Center
 Penn Avenue
 Turtle Creek, PA 15145
 Phone: 412-824-6201
 Sent via: Fax 412-824-6364


  RE:            CV-095-2020. LVNV Funding LLC. v Keith McBroom


                                  INTENT TO DEFEND NOTICE:
  DEFENDANT INTENDS TO ENTER A DEFENSE. PLEASE CONSIDER THIS NOTICE PER
  Pa. R. Civ. P. MAG DIST J RULE 305(4)(a).
  PLEASE NOTIFY THE PLAINTIFF THAT DEFENDANT HAS ENTERED NOTICE TO
  DEFEND PER Pa. R. Civ. P. MAG DIST J RULE 318.
  ALSO, PLEASE UPDATE THE DOCKECT TO SHOW THAT DEFENDANT INTENDS TO
  DEFEND AS WELL AS OUR ENTRY OF APPEARANCE.


                                                    Sincerely,
                                                    /s/ Joshua P Ward


                                                    Joshua P. Ward, Esquire
                                                    PA Bar Number: 320347
                                                    Email: JWard@FentersWard.Com
                                                    Direct Dial: 1 (412) 545-3015

JPW/tmn
Cc: Gregg L. Morris, Esq.
    Keith McBroom
                 Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 33 of 37
COMMONWEALTH OF PENNSYLVANIA                                                   ENTRY OF APPEARANCE
COUNTY OF Allegheny
                                                                              PURSUANT TO PARCPMDJ
                                                                                      207.1(A)
 Mag. Dist. No: 05-2-47
 MDJ Name: Honorable                                                                LVNV Funding LLC
                                                                                _________________________
                           Scott H. Schricker
                                                                                            v.
 Address:
              100 Penn Avenue
              Turtle Creek, PA 15145
                                                                                      Keith McBroom
                                                                                _________________________
 Telephone:   (412) 824-6201
                                                                                 Docket No:    CV-95-2020
                                                                                 Case Filed:   05/29/20




TO THE MAGISTERIAL DISTRICT COURT:
         Please enter my appearance on behalf of        defendant Keith McBroom
In the above captioned matter.




Attorney Name:        Joshua P. Ward

Supreme Court of Pennsylvania Attorney Identification Number:        320347

Firm Name:        The Law Firm of Fenters Ward

Address:          201 South Highland Avenue, Suite 201

City, ST, Zip:    Pittsburgh, Pennsylvania 15206

Telephone Number:       (412) 545-3016


I certify that this filing complies with the provisions of the Case Records Public Access Policy of the Unified Judicial System
of Pennsylvania that require filing confidential information and documents differently than non-confidential information and
documents.
                                 /s/ Joshua P. Ward                                    07/06/20
                                Signature of Applicant                                Date




AOPC 318                                                       1                                      FREE INTERPRETER
                                                                                                  www.pacourts.us/language-rights
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 34 of 37




            EXHIBIT D
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 35 of 37
Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 36 of 37
       Case 2:21-cv-01218-WSH Document 1-2 Filed 09/13/21 Page 37 of 37




                                        VERIFICATION
       I, JOSHUA P. WARD, ESQ., have read the foregoing COMPLAINT and verify that the

statements therein are correct to the best of my personal knowledge, information, and/or belief. I

have gained this information from discussions with Plaintiff. This verification is made on behalf

of Plaintiff. Plaintiff will produce their verification if/when there is an objection by Defendant or

upon directive from the court.

       I understand that this verification is made subject to the penalties of 18 Pa. C.S.A. 4904

relating to unsworn falsification to authorities, which provides that if I knowingly make false

averments, I may be subject to criminal penalties.




                                                      Respectfully submitted,

                                                      J.P. WARD & ASSOCIATES, LLC



Date: July 30, 2021                                   By: ____________________________
                                                          Joshua P. Ward (Pa. I.D. No. 320347)
                                                          Kyle H. Steenland (Pa. I.D. No. 327786)

                                                          J.P. Ward & Associates, LLC
                                                          The Rubicon Building
                                                          201 South Highland Avenue
                                                          Suite 201
                                                          Pittsburgh, PA 15206

                                                          Counsel for Plaintiff




                                                 10
